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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


Nautilus Insurance Company,           )
                                      )
              Plaintiff,              )
                                      )
         v.                           )               C.A. No. 2:22-1307-RMG
                                      )
Richard Alexander Murdaugh, Sr., Cory )
Fleming, and Moss & Kuhn, P.A.,       )
                                      )
              Defendants.             )               ORDER
                                      )
____________________________________)

       Defendant Cory Fleming, currently incarcerated at FCI Jessup, has moved through counsel

to be transported to Charleston, South Carolina so that he can participate in the trial of the above

captioned action, which is scheduled to commence on January 6, 2025 at the J. Waties Waring

Federal Judicial Center. (Dkt. No. 257). Defendant Fleming asserts that his attendance at this

civil trial is “necessary to protect [his] right and ability to defend the claims asserted against him

at the trial of the case.” (Id. at 1-2). For good cause shown, the motion is granted.

       The United States Marshal Service is hereby ordered to (1) transport Defendant Fleming

from FCI Jessup to an appropriate detention center facility utilized by the Marshal Service in the

Charleston, South Carolina area prior to January 6, 2025; (2) maintain custody of Defendant

Fleming for the duration of the trial in the above captioned matter; (3) transport Defendant

Fleming daily to the trial from the detention center where he will be housed; and (4) transport

Defendant Fleming back to FCI Jessup upon the completion of the trial. The Bureau of Prisons is

directed to cooperate with the Marshal Service in its compliance with this Order.

       AND IT IS SO ORDERED.



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                                                   s/ Richard Mark Gergel
                                                   Richard Mark Gergel
                                                   United States District Judge



December 10, 2024
Charleston, South Carolina




                                            2
